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                                                       March 8, 2022
 ECF
By
The Honorable William F. Kuntz, II
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                           Re: United States v. Steven Carter, 20-CR-295 (WFK)
Your Honor:
      On behalf of my client, Steven Carter, I, respectfully, submit this letter in
response to the Government's filings of March 4, 2022, in which the Government raises
new issues with respect to Motions in Limine (ECF 49 and 46) and Expert Testimony
(ECF 50).

MOTIONS IN LIMINE (ECF 49 and 46)

          Video Footage
      The Government seeks the Court's permission to show the jury unspecified video
footage of the actual crime but to preclude the Defense from showing other portions.
ECF 49, at 1 (asking the Court to "Permit the Government to Introduce Portions of
Video Footage and Preclude the Defendant from Introducing his Own Self Serving
Statements").
      This issue must be analyzed under Rule 106 of the Federal Rules of Criminal
Procedure, which the Government has not done. Rule 106 states:
         If a party introduces all or part of a writing or recorded statement, an
         adverse party may require the introduction, at that time, of any other part
         — or any other writing or recorded statement — that in fairness ought to
         be considered at the same time.

Fed.R.Evid. 106.
       The Government makes no effort to fit its request within Rule 106, focusing
instead on hearsay rules. Indeed it does not explain what "self serving" statements it
seeks to redact, except to say that "among other things, following his arrest, the
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 defendant repeatedly questioned the officers regarding why they stopped him." ECF
 49, at 6.
       The Rule of Completeness requires that "the omitted portion of a statement must
be placed in evidence if necessary to explain the admitted portion, to place the admitted
portion in context, to avoid misleading the jury, or to ensure fair and impartial
understanding of the admitted portion." United States v. Castro, 813 F.2d 571, 575-76 (2d
Cir. 1987); Fed. R. Evid. 106. This is anon-hearsay use of evidence, permitting the jury
to hear and see the Government's video evidence in its natural context. Redacting only
certain statements leads to unfair speculation and unfairness.

      Even if the Court were to find that the unspecified "self-serving" statements the
Government seeks to redact are not required under FRE 106, they are independently
admissible for non-hearsay purposes.
        First, the contextual evidence is admissible for the non-hearsay purpose of
providing background and context to the stop and in evaluating the credibility of the
officers. The jury should hear the Defendant's and officers' conversation, not for their
truth, but rather to evaluate how the officer's testimony holds up once the real time
footage is viewed. Unredacted footage is necessary to complete the story so that the
jury can properly evaluate the credibility of the officers' explanation of what they
observed.

       Second, the contextual evidence of the Defendant's contemporaneous statements
is independently admissible under the following hearsay exceptions:
          • FRE 803(1) (Present Sense Impression — A statement describing or
            explaining an event or condition, made while or immediately after the
            declarant perceived it);
          • FRE 803(2) (Excited Utterance — A statement relating to a startling event or
            condition, made while the declarant was under the stress of excitement
            that it caused.), and
          ~ FRE 803(3) (State of Mind - A statement of the declarant's then existing
            state of mind (such as motive, intent, or plan) or emotional, sensory, or
            physical condition (such as mental feeling, pain, or bodily health), but not
            including a statement of memory or belief to prove the fact remember to
            believed).

       The relevant video evidence, showing the immediate and real time reactions of
all involved to an exciting event - a street arrest - shows the actions and words of both
Defendant and police officers contemporaneous with the relevant events in real time.
The unredacted footage poses no danger of showing a "past memory or belief offered to
prove the fact remembered or believed," which would be the only impediment to
admissibility under FRE 803(3). The Government is free to argue to the jury that the

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defendant is misrepresenting his state of mind when he talks about what is happening
to him, but such an argument does not preclude the admissibility of the unredacted
footage. See, e.g., United States v. Cardascia, 951 F.2d 474, 488 (2d Cir. 1991) (rejecting
government argument that "the likelihood that the declarant is misrepresenting his
state of mind is not an additional qualification to the admissibility of state of mind
hearsay statements") (citing United States v. Harris, 733 F.2d 994, 1005 (2d Cir. 1984)); see
also United States v. DiMaria, 727 F.2d 265, 270 (2d Cir. 1984) (reversing conviction where
district court had excluded defendant's statement at scene of arrest that "I thought you
guys were just investigating white collar crime; what are you doing here? I only came
here to get some cigarettes real cheap.") Similarly, in Harris, a case involving a charge
of conspiracy to possess and distribute heroin, the district court improperly excluded a
statement defendant made to an attorney and his parole officer that he believed the
government was trying to set him up and that an informant had brought a government
agent to him. The statement should have been admitted under the state of mind
exception because it was a statement of the defendant's then existing state of mind.
Harris, 733 F.2d at 1005.
      We, therefore, respectfully submit that the Government's motion to preclude
should be denied.

       Admissibility of Prior Conviction
        The Government asks the Court to deem admissible evidence of the Defendant's
prior conviction for firearm possession stemming from an August 3, 2013 arrest. ECF
49, at 6. It claims that the jury should hear about this nearly 10 year old crime despite
the protections of FRE 404(b) because the 2013 conduct shows "opportunity and access
to firearms" in 2020. ECF 46, at 7.
        This is a patent effort to subvert the prohibition against character and propensity
evidence. The only relevance of the Defendant's prior conviction for possessing a
firearm in 2013 is that he is more likely to have knowingly possessed one in 2022. In
support of its application, the Government cites anon-published, summary order that
lacks detail about the timing of the prior possession admitted by the district court:
United States v. Slaughter, 248 F. App'x 210, 212 (2d Cir. 2007). Nevertheless, the fact that
Slaughter offers no solace to the Government can be gleaned from its citation to United
States v. Zappola, 677 F.2d 264, 270 (2d Cir.1982), in which the Second Circuit approved
the admission of a prior handgun possession that took place six months before the crime
charged as "probative of [defendant's] access to such a weapon." The Zappola case
underscores how far off the mark is the Goverment's argument here, as in Zappola the
prior act was that of showing the victim of a shooting the very firearm that was used to
shoot the victim six months later. Such evidence was probative of access to the very
weapon used in the crime for which the defendant was on trial in that case. Here, there



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 is simply no connection between the 2013 gun possession and the current crime — other
 than as impermissible propensity evidence.

       The Government's claim to admit this nearly 10 year old possession is therefore
bereft of authority, violates Rule 404(b) and Rule 403, and must be rejected.

       Cross Examination of Defendant About Prior Conviction

      Should Defendant testify, the Government seeks to cross examine the Defendant
about his October 2020 conviction for Attempted Criminal Possession of a Controlled
Substance in the Third Degree in violation of N.Y.P.L. 220.16(01). ECF 49, at 11.
       The aforementioned prior conviction is clearly not a crime involving
truthfulness.
       It is true that FRE 609 provides that, if a defendant in a criminal case testifies, his
"character for truthfulness" may be impeached by evidence of a criminal conviction
under certain conditions. Thus, if "establishing the elements of the crime required
proving —or the witness's admitting —a dishonest act or false statement," evidence of
the conviction must be admitted. Fed. R. Evid. 609(a)(2). The 2020 conviction clearly
does not fall within this category. But Rule 609(a)(1)(B) also permits impeachment if the
was punishable by more than one year of imprisonment, where "the probative value of
the evidence outweighs its prejudicial effect." Fed. R. Evid. 609(a)(1)(B).
        In applying Rule 609(a)(1), district courts must "examine which of a witness's
crimes have elements relevant to veracity and honesty and which do not." United States
v. Estrada, 430 F.3d 606, 616 (2d Cir. 2005). While "Rule 609(a)(1) presumes that all
felonies are at least somewhat probative of a witness's propensity to testify truthfully,"
Id., some are clearly more probative than others. An attempted drug sale, unlike drug
smuggling, is not a crime of dishonesty but rather a straightforward violation of law.
Thus, "drug possession in the third degree has little bearing on the veracity of [the
defendant] as a witness and thus, ranks fairly low on the impeachment value scale."
United States v. Brown, 606 F. Supp. 2d 306, 319 (E.D.N.Y. 2009) (KAM) (citations
omitted).
      Moreover, the value of admitting the 2020 Third Degree Possession with Intent
conviction is outweighed by its prejudicial effect given the "evil" often associated with
drug dealing. Thus, the jury is more likely to view the testifying Defendant as having a
propensity to commit a bad crime rather than a propensity to be dishonest.
      Mention of Possible Punishment

       The Government seeks to preclude mention of possible punishment in that if
convicted the Defendant faces a statutory maximum of 10 years' imprisonment. ECF 49,
at 12. The Defendant has no intention of interjecting said punishment into the trial.


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       Disbanding of the Anti-Crime Squad

      The Government seeks to preclude the Defendant from referencing at trial that
the NYPD Anti-Crime Squad was disbanded after his arrest. ECF 49, at 14. T`he
Government contends that the "police commissioner's decision to disband the
Anti-Crime Squad was in no way related to this case." Id.
        At this juncture, the defense invokes Brady and Giglio, as well as FRCP 5.1, to seek
any materials in the Government's possession or reasonable available to the
Government regarding the disbanding of the Anti-Crime Squad so that the defense can
properly assess the Government's claim that the disbanding was in "no way related to
this case." To the extent that the disbanding reflected a culture of dishonesty and abuse
of authority in street level investigations such as the one conducted here, we disagree
with the Government's assessment and reserve our right to offer such evidence upon
notice to the Court and the Government, and to seek appropriate sanctions should the
Government fail to provide the requested disclosures.

Defense Position on Government's Expert Witness (ECF 50)
       Proffered Expert PO Clarence Batie
       The Defense does not oppose the testimony of PO Clarence Batie regarding the
fact that fingerprints were not found on the firearm in question.
        At this juncture, the Defense does oppose the Government's effort to elicit
testimony that fingerprints are "often not recovered on firearms and the reasons why."
ECF, 50, at 1. The defense seeks disclosure of the facts or data underlying the experts
opinion pursuant to FRE 702, 703 and 705 and Fed. R. Crim. P. 16(b)(1)(C) (Government
must disclose not just a written summary of any testimony" but must also "describe the
witness's opinions, the bases and reasons for those opinions, and the witness's
qualifications.")
        Under Rule 703, an "expert may base an opinion on facts or data in the case that
the expert has been made aware of or personally observed . . . [i]f experts in the
particular field would reasonably rely on those kinds of facts or data in forming an
opinion on the subject..."

       The Defense cannot properly evaluate the admissibility of the opinion that
fingerprints are "often not recovered on firearms and the reasons why" without
reviewing the underlying facts and data upon which the expert intends to rely.

       We therefore reserve the right to make such further objections and arguments
once in receipt of the requested materials.




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       Proffered Expert ATF Agent Matt Fleming — Interstate Commerce and More
       The Defense does not oppose the testimony of Agent Fleming regarding the
identification of the firearm/interstate nexus.

        The Defense does oppose testimony of Agent Fleming regarding the firearm's
value on the "retail and secondary market." ECF 50, at 1. This testimony is irrelevant
to the issues at this trial under FRE 401 and, even if it were relevant, its introduction
would violate FRE 403.
       Moreover, as the Defense has not yet seen the "forthcoming" materials that will
be provided by the Government (ECF 50, at 1) relating to Special Agent Flemings
testimony, we respectfully reserve the right to make necessary and proper objections at
the appropriate time and and retain and offer a counter expert if necessary.
      Thank You for Your continued consideration of this matter.



                                                Sincerely,
                                                /s/ Michael P. Padden
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